875 F.2d 317Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.James Reynold NICEWONGER, Defendant-Appellant.
    No. 87-7569.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 16, 1989.Decided May 8, 1989.
    
      James Reynold Nicewonger, appellant pro se.
      Susan Moss Ringler Office of the United States Attorney, for appellee.
      Before K.K. HALL, PHILLIPS, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      James Reynold Nicewonger appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Nicewonger, C/A No. 86-3451-HAR, CR No. 84-431-HAR (D.Md. Feb. 2, 1987).  We deny Nicewonger's motions for preparation of a transcript at government expense, to supplement the record, and for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    